                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 1 of 13 Page ID #:3673



                                                                                                         1 TUCKER ELLIS LLP
                                                                                                           Anthony D. Brosamle SBN 208664
                                                                                                         2 anthony.brosamle@tuckerellis.com
                                                                                                           Valeria Golodnitska SBN 289865
                                                                                                         3 valeria.golodnitska@tuckerellis.com
                                                                                                           515 South Flower Street
                                                                                                         4 Forty-Second Floor
                                                                                                           Los Angeles, CA 90071
                                                                                                         5 Telephone:      213.430.3400
                                                                                                           Facsimile:      213.430.3409
                                                                                                         6
                                                                                                           TUCKER ELLIS LLP
                                                                                                         7 Nicole E. Gage SBN 208658
                                                                                                           nicole.gage@tuckerellis.com
                                                                                                         8 One Market Plaza
                                                                                                           Steuart Tower, Suite 700
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 San Francisco, CA 94105
                                                                                                           Telephone: 415.617.2400
                                                                                                        10 Facsimile: 415.617.2409
                                                                                                        11 Attorneys for Defendant
                                                                                                           Rockwell Automation, Inc.
                                                                                                        12
TUCKER ELLIS LLP




                                                                                                                                   UNITED STATES DISTRICT COURT
                                                                                                        13
                                                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        14
                                                                                                           TERRY LEE SIEGFRIED and TERRI             ) Case No. 2:18-CV-01575
                                                                                                        15 SIEGFRIED,                                )
                                                                                                                                                     )
                                                                                                        16                     Plaintiff,            ) DEFENDANT ROCKWELL
                                                                                                                                                     ) AUTOMATION, INC.’S JOINDER TO
                                                                                                        17        v.                                 ) DEFENDANT ELLIOTT
                                                                                                                                                     ) COMPANY’S NOTICE OF
                                                                                                        18 3M COMPANY (f/k/a MINNESOTA               ) REMOVAL OF ACTION UNDER 28
                                                                                                           MINING & MANUFACTURING                    ) U.S.C. § 1442(A)(1) (GOVERNMENT
                                                                                                        19 COMPANY); AIR & LIQUID SYSTEMS ) CONTRACTOR IMMUNITY-
                                                                                                           CORPORATION (sued individually and ) ACTING UNDER DIRECTION OF
                                                                                                        20 as successor-in-interest to BUFFALO       ) FEDERAL OFFICERS)
                                                                                                           PUMPS, INC.); ABB, INC. (individually )
                                                                                                        21 and as successor-in-interest to ITE       )
                                                                                                           IMPERIAL CO f/k/a ITE CIRCUIT             )
                                                                                                        22 BREAKER COMPANY); ALFA LAVAL )
                                                                                                           INC. (sued individually and as successor- )
                                                                                                        23 in-interest to THE DELAVAL                )
                                                                                                           SEPARATOR COMPANY and                     )
                                                                                                        24 SHARPLES CORPORATION);                    )
                                                                                                           ATWOOD & MORIULL CO., INC. d/b/a )
                                                                                                        25 WEIR VALVES & CONTROLS USA,               )
                                                                                                           INC.; AURORA PUMP COMPANY;                )
                                                                                                        26 A.O. SMITH CORP.; BACOU-DALLOZ )
                                                                                                           USA, INC., (sued as successor-in-interest )
                                                                                                        27 and/or f/k/a W.G.M. SAFETY                )
                                                                                                        28
                                                                                                                                       JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 2 of 13 Page ID #:3674



                                                                                                         1 PRODUCTS d/b/a WILLSON SAFETY                  )
                                                                                                           PRODUCTS); CARRIER                             )
                                                                                                         2 CORPORATION; CARVER PUMP                       )
                                                                                                           COMPANY; CBS CORPORATION (a                    )
                                                                                                         3 Delaware Corporation) f/k/a VIACOM,            )
                                                                                                           INC. (as successor-by-merger to CBS            )
                                                                                                         4 CORPORATION) (a Pennsylvania                   )
                                                                                                           Corporation) f/k/a WESTINGHOUSE                )
                                                                                                         5 ELECTRIC CORPORATION) and also as              )
                                                                                                           successor-in-interest to BF                    )
                                                                                                         6 STURTEVANT; CLA-VAL CO.;                       )
                                                                                                           CLEAVER-BROOKS, INC. (sued                     )
                                                                                                         7 individually and as successor-in-interest to   )
                                                                                                           DAVIS ENGINEERING COMPANY                      )
                                                                                                         8 formerly known as AQUA-CHEM, INC.              )
                                                                                                           doing business as CLEAVER-BROOKS               )
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 DIVISION); COOPER WIRING                       )
                                                                                                           DEVICES, a division of COOPER                  )
                                                                                                        10 INDUSTRIES (individually and as                )
                                                                                                           successor-in-interest to ARROW-HART            )
                                                                                                        11 & HEGEMAN, INC.); COPES-VULCAN,                )
                                                                                                           INC.; CRANE CO. (sued individually and         )
                                                                                                        12 successor-in-interest to COCHRANE              )
                                                                                                           CORPORATION; CHAPMAN VALVE                     )
TUCKER ELLIS LLP




                                                                                                        13 COMPANY and JENKINS VALVES);                   )
                                                                                                           CRANE ENVIRONMENTAL, INC. (sued                )
                                                                                                        14 individually and successor-in- interest to     )
                                                                                                           COCHRANE CORPORATION); EATON                   )
                                                                                                        15 CORPORATION (sued individually and             )
                                                                                                           as successor-in-interest to CUTLER-            )
                                                                                                        16 HAMMER INC.); EATON                            )
                                                                                                           ELECTRICAL, INC. (sued individually            )
                                                                                                        17 and as successor-in-interest to CUTLER-        )
                                                                                                           HAMMER INC.); ELLIOT                           )
                                                                                                        18 TURBOMACHINERY COMPANY a/k/a                   )
                                                                                                           ELLIOTT COMPANY; EMERSON                       )
                                                                                                        19 ELECTRIC CO. (individually and as              )
                                                                                                           successor-in- interest to KEYSTONE             )
                                                                                                        20 VALVES AND CONTROLS, INC.);                    )
                                                                                                           FISHER CONTROLS                                )
                                                                                                        21 INTERNATIONAL LLC f/k/a FISHER                 )
                                                                                                           GOVERNOR COMPANY; FMC                          )
                                                                                                        22 CORPORATION (sued individually and             )
                                                                                                           as successor-in-interest to NORTHERN           )
                                                                                                        23 PUMP COMPANY and PEERLESS                      )
                                                                                                           PUMP COMPANY); FOSTER                          )
                                                                                                        24 WHEELER ENERGY CORPORATION;                    )
                                                                                                           FRASER BOILER SERVICE, INC.;                   )
                                                                                                        25 GARDNER-DENVER, INC.; GENERAL                  )
                                                                                                           DYNAMICS CORPORATION                           )
                                                                                                        26 (successor-in- interest to BATH IRON           )
                                                                                                           WORKS LTD. f/k/a THE HYDE                      )
                                                                                                        27 WINDLASS COMPANY); GENERAL                     )
                                                                                                        28
                                                                                                                                                     2
                                                                                                                                       JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 3 of 13 Page ID #:3675



                                                                                                         1 ELECTRIC COMPANY (individually and             )
                                                                                                           as successor-in- interest to                   )
                                                                                                         2 MASONEILAN, and MANNING,                       )
                                                                                                           MAXWELL & MOORE, INC.); GIBBS                  )
                                                                                                         3 & COX, INC.; THE GORMAN-RUPP                   )
                                                                                                           COMPANY (individually and as                   )
                                                                                                         4 successor-in-interest to PATTERSON             )
                                                                                                           PUMP COMPANY, and C.H.                         )
                                                                                                         5 WHEELER); GOULDS ELECTRONICS                   )
                                                                                                           (as successor-in-interest to ITE CIRCUIT       )
                                                                                                         6 BREAKER CO.); GOULDS PUMPS,                    )
                                                                                                           INC.; HARDIE-TYNES CO., INC. (sued             )
                                                                                                         7 individually and as successor-in-interest to   )
                                                                                                           HARDIE-TYNES MANUFACTURING                     )
                                                                                                         8 CO. and HARDIE-TYNES                           )
                                                                                                           MANUFACTURING COMPANY);                        )
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 HARDIE-TYNES FOUNDRY &                         )
                                                                                                           MACHINE CO. (sued individually and as          )
                                                                                                        10 successor-in-interest to HARDIE- TYNES         )
                                                                                                           MANUFACTURING CO. and HARDIE-                  )
                                                                                                        11 TYNES MANUFACTURING                            )
                                                                                                           COMPANY); HARDIE-TYNES, LLC                    )
                                                                                                        12 (sued individually and as successor-in-        )
                                                                                                           interest to HARDIE-TYNES                       )
TUCKER ELLIS LLP




                                                                                                        13 MANUFACTURING CO. and HARDIE-                  )
                                                                                                           TYNES MANUFACTURING                            )
                                                                                                        14 COMPANY); HERCULES                             )
                                                                                                           MANUFACTURING COMPANY, INC;                    )
                                                                                                        15 HOWDEN NORTH AMERICA, INC.                     )
                                                                                                           f/k/a HOWDEN BUFFALO, INC.                     )
                                                                                                        16 (individually and as successor-in- interest    )
                                                                                                           to BUFFALO FORGE COMPANY); IMO                 )
                                                                                                        17 INDUSTRIES, INC. (sued individually            )
                                                                                                           and as successor-in-interest, to               )
                                                                                                        18 DELAVAL TURBINE, INC.);                        )
                                                                                                           INGERSOLL-RAND COMPANY                         )
                                                                                                        19 (individually and as successor-in-interest     )
                                                                                                           to TERRY STEAM TURBINE); ITT                   )
                                                                                                        20 INDUSTRIES, INC. (sued individually            )
                                                                                                           and as successor-in-interest to BELL &         )
                                                                                                        21 GOSSETT, FOSTER ENGINEERING                    )
                                                                                                           and HOFFMAN SPECIALTY); KERR                   )
                                                                                                        22 MACHINERY CO. n/k/a KERR PUMP &                )
                                                                                                           SUPPLY INC.; LAWLER                            )
                                                                                                        23 MANUFACTURING COMPANY, INC.                    )
                                                                                                           f/k/a LAWLER AUTOMATIC                         )
                                                                                                        24 CONTROLS, INC.; THE MARLEY-                    )
                                                                                                           WYLAIN COMPANY; MUELLER                        )
                                                                                                        25 STEAM SPECIALITY COMPANY n/k/a                 )
                                                                                                           WATTS WATER TECHNOLOGIES,                      )
                                                                                                        26 INC.; THE NASH ENGINEERING                     )
                                                                                                           COMPANY; OWENS-ILLINOIS, INC.;                 )
                                                                                                        27 PPG INDUSTRIES, INC. (individually             )
                                                                                                        28
                                                                                                                                                     3
                                                                                                                                       JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 4 of 13 Page ID #:3676



                                                                                                         1 and as successor-in- interest to AKZO        )
                                                                                                           NOBEL INC., and DEVOE COATINGS);             )
                                                                                                         2 QUIMBY EQUIPMENT COMPANY;                    )
                                                                                                           ROBERTSHAW CONTROLS                          )
                                                                                                         3 COMPANY (individually and as                 )
                                                                                                           successor-in-interest to FULTON              )
                                                                                                         4 SYLPHON COMPANY); ROCKWELL                   )
                                                                                                           AUTOMATION INC. (individually and as         )
                                                                                                         5 successor by merger to ALLEN-                )
                                                                                                           BRADLEY COMPANY LLC and                      )
                                                                                                         6 ROSTONE CORPORATION); ROSS                   )
                                                                                                           OPERATING VALVE COMPANY d/b/a                )
                                                                                                         7 ROSS CONTROLS; RSCC WIRE &                   )
                                                                                                           CABLE, LLC.; SCJiNEWER                       )
                                                                                                         8 ELECTRIC, USA, INC., f/k/a                   )
                                                                                                           SQUARED COMPANY. SIEMENS                     )
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 CORPORATION (individually and as             )
                                                                                                           successor-in- interest to ITE CIRCUIT        )
                                                                                                        10 BREAKER CO.); SIEMENS ENERGY                 )
                                                                                                           INC. (individually and as successor by       )
                                                                                                        11 merger to DRESSER-RAND GROUP,                )
                                                                                                           INC.); SPIRAX SARCO, INC.; SPX               )
                                                                                                        12 CORPORATION (sued individually and           )
                                                                                                           as successor-in-interest to THE MARLEY       )
TUCKER ELLIS LLP




                                                                                                        13 COMPANY, WYLAIN, INC., WEIL-                 )
                                                                                                           McCLAIN, a division of WYLAIN, INC.,         )
                                                                                                        14 and WEIL-McCLAIN); STERLING                  )
                                                                                                           FLUID SYSTEMS, (USA) LLC f/k/a               )
                                                                                                        15 PEERLESS PUMP COMPANY;                       )
                                                                                                           SULZER PUMPS HOUSTON, INC. (sued             )
                                                                                                        16 individually and as successor-in- interest   )
                                                                                                           to PACO PUMPS f/k/a PACIFIC                  )
                                                                                                        17 PUMPING COMPANY); SUPERIOR-                  )
                                                                                                           LIDGERWOOD- MUNDY (individually              )
                                                                                                        18 and as successor-in-interest to M.T.         )
                                                                                                           Davidson Co.); VELAN VALVE                   )
                                                                                                        19 CORP.;VIAD CORP f/k/a THE DIAL               )
                                                                                                           CORPORATION(sued individually and as         )
                                                                                                        20 successor-in-interest to GRISCOM-            )
                                                                                                           RUSSELL COMPANY); VIKING PUMP,               )
                                                                                                        21 INC., a Unit of IDEX Corporation;            )
                                                                                                           WARREN PUMPS, LLC (individually              )
                                                                                                        22 and as successor-in-interest to QUIMBY       )
                                                                                                           PUMP COMPANY); WEIL-McCLAIN;                 )
                                                                                                        23 WEIL-McCLAIN, a division of THE              )
                                                                                                           MARLEY COMPANY (sued individually            )
                                                                                                        24 and as successor-in-interest to WYLAIN       )
                                                                                                           CO.); WILO USA LLC(individually and          )
                                                                                                        25 as successor-in-interest to WEIL PUMP        )
                                                                                                           COMPANY, INC.); WEIR VALVES                  )
                                                                                                        26 &CONTROLS USA INC. f/k/a                     )
                                                                                                           ATWOOD & MORRILL; THE                        )
                                                                                                        27 WILLIAM POWELL COMPANY; and                  )
                                                                                                        28
                                                                                                                                                    4
                                                                                                                                       JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 5 of 13 Page ID #:3677



                                                                                                         1 DOES 1-450, inclusive,                          )
                                                                                                                                                           )
                                                                                                         2                       Defendants.               )
                                                                                                                                                           )
                                                                                                         3                                                 )
                                                                                                                                                           )
                                                                                                         4                                                 )
                                                                                                                                                           )
                                                                                                         5                                                 )
                                                                                                         6
                                                                                                                    TO THE HONORABLE COURT AND TO ALL PARTIES AND
                                                                                                         7
                                                                                                              THEIR ATTORNEYS OF RECORD:
                                                                                                         8
                                                                                                                    Defendant ROCKWELL AUTOMATION, INC. (“Rockwell”) hereby gives
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9
                                                                                                              notice that it joins in Defendant Elliot Company (“Elliot”) Notice of Removal of
                                                                                                        10
                                                                                                              the above-entitled action from the Superior Court of the State of California for the
                                                                                                        11
                                                                                                              County of Los Angeles, to the United States District Court for the Central District
                                                                                                        12
                                                                                                              of California pursuant to 28 U.S.C. §§ 1442(a)(1) and 1446. This notice of joinder
TUCKER ELLIS LLP




                                                                                                        13
                                                                                                              is based on Rockwell’s separate and independent right to remove under the federal
                                                                                                        14
                                                                                                              officer removal statute. In support of its joinder, Rockwell respectfully states the
                                                                                                        15
                                                                                                              following:
                                                                                                        16
                                                                                                                                             Preliminary Matters
                                                                                                        17
                                                                                                                    1.     On January 26, 2018, Plaintiffs Terry Lee Siegfried and Terri
                                                                                                        18
                                                                                                              Siegfried filed a Complaint for Personal Injuries against multiple defendants,
                                                                                                        19
                                                                                                              including Rockwell, in the Superior Court of the State of California for the County
                                                                                                        20
                                                                                                              of Los Angeles. On February 13, 2018, Rockwell filed its Answer to the
                                                                                                        21
                                                                                                              Complaint. Attached hereto as Exhibit A is a true and correct copy of the
                                                                                                        22
                                                                                                              Summons and Complaint served on Rockwell, and Rockwell’s Answer. Rockwell
                                                                                                        23
                                                                                                              has not been served with any other pleadings.
                                                                                                        24
                                                                                                                    2.     Plaintiffs allege in their Complaint that Terry Lee Siegfried was
                                                                                                        25
                                                                                                              injured as a result of exposure to asbestos and asbestos-containing products while
                                                                                                        26
                                                                                                        27
                                                                                                        28
                                                                                                                                                       5
                                                                                                                                         JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 6 of 13 Page ID #:3678



                                                                                                         1 working for the Long Beach Naval Shipyard aboard countless naval vessels
                                                                                                         2 between 1969 and 1996.
                                                                                                         3          3.    This case is removable based on federal officer jurisdiction under 28

                                                                                                         4 U.S.C., § 1442(a)(1). Plaintiffs’ claims against Rockwell are based on Mr.
                                                                                                         5 Siegfried’s exposure to equipment allegedly supplied to the United States Navy;
                                                                                                         6 products that would have been designed and manufactured in accordance with
                                                                                                         7 specifications provided by the U.S. government, and designed and built under the
                                                                                                         8 direction and control of the U.S. government and its officers.
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9        4.    This Joinder in Elliot Company’s Notice of Removal is timely. The

                                                                                                        10 30-day removal period prescribed by 28 U.S.C. § 1446(b) begins to run when
                                                                                                        11 defendant receives a copy of the initial pleading setting forth the claim for relief
                                                                                                        12 from which it may first be ascertained that the case is removable. 28 U.S.C. §
TUCKER ELLIS LLP




                                                                                                        13 1446(b). Rockwell was served with the Summons and Complaint on January 30,
                                                                                                        14 2018. The receipt of the Complaint put Rockwell on notice for the first time in this
                                                                                                        15 action that Plaintiffs’ claims involve Mr. Siegfried exposure to asbestos in military
                                                                                                        16 equipment allegedly built for the United States Government pursuant to
                                                                                                        17 specifications provided by the U.S. Navy and under the direction and control of the
                                                                                                        18 U.S. government and its officers. As this Notice of Removal is being filed within
                                                                                                        19 30 days of Rockwell’s receipt of the Complaint, it is timely under 28 U.S.C. §
                                                                                                        20 1446(b).
                                                                                                        21                                   Nature of the Case

                                                                                                        22          5.    This case is based on Plaintiffs’ allegations that Mr. Siegfried

                                                                                                        23 contracted mesothelioma and/or other asbestos-related diseases as a result of his
                                                                                                        24 exposure to asbestos dust and fibers.
                                                                                                        25          6.    Plaintiffs assert claims against Rockwell for Negligence, Strict

                                                                                                        26 Liability, False Representation under Restatement of Tort Section 402-B,
                                                                                                        27 Intentional Tort/Intentional Failure to Warn and Loss of Consortium.
                                                                                                        28
                                                                                                                                                       6
                                                                                                                                        JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 7 of 13 Page ID #:3679



                                                                                                         1                  Jurisdiction, Venue and Intradistrict Assignment

                                                                                                         2          7.    Jurisdiction is based on 28 U.S.C. §§ 1331 and 1442(a)(1) as set forth

                                                                                                         3 below under Grounds for Removal.
                                                                                                         4      8.     Venue is proper in the Central District of California because the state

                                                                                                         5 court action, which is subject to this removal petition, was filed in the Superior
                                                                                                         6 Court of California for the County of Los Angeles.
                                                                                                         7          9.    Furthermore, §1442(a) authorizes such a removal without the consent

                                                                                                         8 of any other defendant. See Ely Valley Mines, Inc. v. Hartford Acc. & Indem. Co.,
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 644 F.2d 1310, 1314-1315 (9th Cir. 1981) (“federal officer…can remove without
                                                                                                        10 other defendants joining the petition, and the entire case is removed to the federal
                                                                                                        11 court”).
                                                                                                        12                                  Grounds for Removal
TUCKER ELLIS LLP




                                                                                                        13          10.   This is a civil action over which this Court has original jurisdiction

                                                                                                        14 under 28 U.S.C. § 1331, and is removable to this Court by Rockwell pursuant to 28
                                                                                                        15 U.S.C. § 1442(a)(1) in that Plaintiffs’ alleged right to relief depends on the
                                                                                                        16 resolution of a substantial question of federal law.
                                                                                                        17       11. Rockwell was at all relevant times a “person” within the meaning of

                                                                                                        18 28 U.S.C. § 1442(a)(1). Fung v. Abex Corp., 816 F.Supp. 569, 572 (N.D.Cal.
                                                                                                        19 1992) (finding that a corporate defendant was a “person”).
                                                                                                        20          12.   Should Plaintiffs file a motion to remand this case, Rockwell

                                                                                                        21 respectfully requests an opportunity to respond more fully in writing, but offers the
                                                                                                        22 following authorities at this time:
                                                                                                        23          13.   Removal pursuant to 28 U.S.C. § 1442(a)(1) is appropriate where the

                                                                                                        24 moving party can (1) demonstrate that it acted under the direction of a federal
                                                                                                        25 officer, (2) raise a colorable federal defense to plaintiffs’ claims, and (3)
                                                                                                        26 demonstrate a causal nexus between plaintiffs’ claims and the acts it performed
                                                                                                        27 under color of federal office. See Mesa v. California, 489 U.S. 121, 124-25, 129-
                                                                                                        28
                                                                                                                                                       7
                                                                                                                                        JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 8 of 13 Page ID #:3680



                                                                                                         1 31, 134-35 (1989); Fung v. Abex Corp., 816 F.Supp. 569 (N.D.Cal. 1992);
                                                                                                         2 Machnik v. Buffalo Pumps, Inc., 506 F.Supp.2d 99, 102 (D.Conn. 2007). Here,
                                                                                                         3 Rockwell has satisfied all three requirements and is entitled to the federal officer
                                                                                                         4 removal provision.
                                                                                                         5          14.   Plaintiffs claim that Mr. Siegfried was exposed to asbestos from

                                                                                                         6 electrical components allegedly supplied by Rockwell on board U.S. Naval vessels
                                                                                                         7 (Complaint, Exhibit A). Based on Plaintiffs’ allegations, Rockwell has a colorable
                                                                                                         8 federal defense of government contractor immunity in that any products designed,
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 manufactured, or supplied for use on U.S. Navy vessels for which Rockwell is
                                                                                                        10 allegedly responsible, would have been designed, manufactured, or supplied under
                                                                                                        11 the direction of an officer of the United States within the meaning of 28 U.S.C., §
                                                                                                        12 1442(a)(1).
TUCKER ELLIS LLP




                                                                                                        13       15. All electrical equipment and components manufactured for use on

                                                                                                        14 U.S. Navy vessels strictly complied with very precise Navy Department
                                                                                                        15 specifications or Military Specifications (MilSpecs). Before a manufacturer
                                                                                                        16 received authorization to manufacture or supply electrical components for/to the
                                                                                                        17 U.S. Navy, all of the drawings, plans, technical manuals and other design
                                                                                                        18 documentation first had to be inspected and approved by either U.S. Navy. During
                                                                                                        19 the time in question, the Navy inspections and approvals were the responsibility of
                                                                                                        20 the Bureau of Engineering and its successor organization, the Bureau of Ships
                                                                                                        21 (hereinafter “Navy”). The Navy frequently required changes in design, materials
                                                                                                        22 and documentation before approving the design and authorizing the manufacture of
                                                                                                        23 the electrical devices.
                                                                                                        24          16.   United States Naval Machinery Inspectors were stationed on site at

                                                                                                        25 manufacturing facilities to inspect and test the electrical devices during each phase
                                                                                                        26 of the manufacturing process. At any point, if any material, feature or component
                                                                                                        27 of the electrical devices failed to comply with the applicable specifications,
                                                                                                        28
                                                                                                                                                      8
                                                                                                                                        JOINDER TO NOTICE OF REMOVAL
                                                                                                             Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 9 of 13 Page ID #:3681



                                                                                                         1 standards or the approved design, then it would have been rejected. In short, if any
                                                                                                         2 electrical device supplied to the Navy was installed aboard a U.S. Navy vessel,
                                                                                                         3 then it conformed to the detailed plans that were approved by the Navy and
                                                                                                         4 necessarily complied with all of the precise specifications and standards, including
                                                                                                         5 the specification of the precise material composition of component parts, and any
                                                                                                         6 that may have contained asbestos.
                                                                                                         7          17.   The Navy required the use of many different types of materials in the

                                                                                                         8 equipment built for installation aboard its ships. Each sub-component was
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 designed and manufactured in accordance with similarly precise specifications,
                                                                                                        10 standards and, design reviews which also specifically required the precise type of
                                                                                                        11 material to be used in these components. Where the specifications or standards
                                                                                                        12 permitted the manufacturer to choose between two or more types of materials
TUCKER ELLIS LLP




                                                                                                        13 (such as plastic materials or insulation and other heat resistant materials), the
                                                                                                        14 manufacturer’s choice was subject to specific Navy approval. To the extent that
                                                                                                        15 any piece of electrical device supplied by a manufacturer to the U.S. Navy for
                                                                                                        16 installation on a naval vessel contained asbestos, it would have been specifically
                                                                                                        17 required or approved by the Navy through the specification and design approval
                                                                                                        18 process.
                                                                                                        19       18.      If a component on a piece of naval equipment was actually installed

                                                                                                        20 onboard a U.S. Navy vessel, then that component and the material composition of
                                                                                                        21 that component also complied with the precise specifications, standards and design
                                                                                                        22 requirements that the Navy required for such a component. If such a component
                                                                                                        23 contained asbestos, then the Navy and/or Maritime Commission required that it
                                                                                                        24 contain asbestos. Therefore, every facet of the design and manufacture of
                                                                                                        25 electrical devices manufactured or supplied for use on a Navy vessel was
                                                                                                        26 controlled by an agency of the U.S. Government.
                                                                                                        27
                                                                                                        28
                                                                                                                                                      9
                                                                                                                                        JOINDER TO NOTICE OF REMOVAL
                                                                                                          Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 10 of 13 Page ID #:3682



                                                                                                         1        19.    Rockwell asserts a colorable federal defense to Plaintiffs’ claims,

                                                                                                         2 which are affirmatively barred by government contractor immunity as stated by the
                                                                                                         3 U.S. Supreme Court in Boyle v. United Technologies Corp., 487 U.S. 500, 108
                                                                                                         4 S.Ct. 2510 (1988), and by the Ninth Circuit Court of Appeals in McKay v.
                                                                                                         5 Rockwell International Corp., 704 F.2d 444 (9th Cir. 1983). Pursuant to this
                                                                                                         6 federal defense, equipment manufacturers, such as Rockwell, cannot be held liable
                                                                                                         7 under state law for any injuries caused by the equipment built for or under the
                                                                                                         8 control of the U.S. Government when: (1) the United States approved reasonably
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 precise specifications; (2) the equipment conformed to these specifications; and (3)
                                                                                                        10 the equipment supplier warns the military about any hazards involved in the use of
                                                                                                        11 the equipment that are known to the equipment supplier but not known to the
                                                                                                        12 military. See Boyle, supra, 487 U.S. 500 at 512; McKay, supra, 704 F.2d. 444 at
TUCKER ELLIS LLP




                                                                                                        13 451; Sundstrom, supra, 816 F.Supp. 587 at 596-97.
                                                                                                        14        20.    Here, Rockwell has raised a colorable federal defense to this action

                                                                                                        15 under government contractor immunity. To the extent Plaintiffs claim Rockwell is
                                                                                                        16 responsible for electrical components on board U.S. Naval vessels, (1) such
                                                                                                        17 components or equipment would have been designed and manufactured pursuant to
                                                                                                        18 precise specifications provided and approved by the U.S. Government through the
                                                                                                        19 Navy and/or Coast Guard, (2) the components and equipment would have
                                                                                                        20 conformed to those specifications, and (3) the U.S. Government, one of the world’s
                                                                                                        21 leaders in industrial hygiene concerns, would have possessed information equal to
                                                                                                        22 or superior to that of Rockwell concerning issues of industrial hygiene and
                                                                                                        23 asbestos medicine, including the potential hazards involved with use of asbestos-
                                                                                                        24 containing components or materials associated with electrical or other
                                                                                                        25 Naval/marine equipment. Thus, Rockwell would not have had knowledge of any
                                                                                                        26 hazards associated with the use of the equipment which was not already known to
                                                                                                        27 the U.S. Government.
                                                                                                        28
                                                                                                                                                     10
                                                                                                                                       JOINDER TO NOTICE OF REMOVAL
                                                                                                          Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 11 of 13 Page ID #:3683



                                                                                                         1         21.   A causal nexus exists between Plaintiffs’ claims and the acts allegedly

                                                                                                         2 performed by Rockwell under the direction of federal officers. Plaintiffs’ claims
                                                                                                         3 against Rockwell arise out of Mr. Siegfried’s alleged work on and around electrical
                                                                                                         4 equipment on board U.S. Navy for which Rockwell is allegedly responsible. Any
                                                                                                         5 electrical components provided for use in those vessels would have been designed
                                                                                                         6 and manufactured pursuant to precise federal regulations and/or military
                                                                                                         7 specifications, and built under the detailed and direct control of federal officers.
                                                                                                         8 The conduct attributable to Rockwell is inseparable from the government
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 specifications, regulations, and oversight, and a clear causal nexus exists between
                                                                                                        10 Plaintiffs’ claims and the acts performed under color of federal office. Rockwell
                                                                                                        11 has more than a colorable federal defense to this state action under government
                                                                                                        12 contractor immunity. See Boyle, supra, 487 U.S. at 512; Sundstrom v. McDonnell
TUCKER ELLIS LLP




                                                                                                        13 Douglas Corp., 816 F.Supp. 587 (N.D. Cal. 1993); Fung v. Abex Corp., 816
                                                                                                        14 F.Supp. 569 (N.D. Cal. 1992); Pack v. AC and S, Inc. 838 F. Supp. 1099 (D. Md.
                                                                                                        15 1993); Crocker v. Borden 852 F.Supp. 1322 (E.D. La. 1994); Arness v. Boeing
                                                                                                        16 North American, Inc., 997 F.Supp. 1268 (C.D. Cal. 1998).
                                                                                                        17       22. The existence of a single removable claim allows removal of the

                                                                                                        18 entire action. 28 U.S.C. § 1441(c). National Audubon Society v. Dept. of Water,
                                                                                                        19 496 F.Supp. 499, 509 (E.D. Cal. 1980).
                                                                                                        20         23.   Notice of Elliot Company’s removal has been filed with the state

                                                                                                        21 court and provided to all adverse parties pursuant to 28 U.S.C. § 1446(d).
                                                                                                        22        24. This Notice of Joinder and Joinder is based on this Notice of Removal

                                                                                                        23 to the United States District Court, the Certificate of Service of Notice to Adverse
                                                                                                        24 Party of Removal filed in the state court action, the Notice to Adverse Party of
                                                                                                        25 Removal to Federal Court filed in the state court action, the complete file in the
                                                                                                        26 state court case, and any other matters which the court deems applicable.
                                                                                                        27
                                                                                                        28
                                                                                                                                                      11
                                                                                                                                        JOINDER TO NOTICE OF REMOVAL
                                                                                                         Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 12 of 13 Page ID #:3684



                                                                                                         1         WHEREFORE, Rockwell hereby joins in Elliot Company’s Notice of
                                                                                                         2 Removal and consents thereto to said removal of this action from the Superior
                                                                                                         3 Court of the State of California for the County of Los Angeles to the United States
                                                                                                         4 District Court for the Central District of California.        In the event that Elliot
                                                                                                         5 Company is dismissed from this action or withdraws its Notice of Removal,
                                                                                                         6 Rockwell prays that this Court retain jurisdiction based on Rockwell’s independent
                                                                                                         7 right to federal officer removal jurisdiction as set forth herein.
                                                                                                         8
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9 DATED: March 1, 2018                              TUCKER ELLIS LLP
                                                                                                        10
                                                                                                        11
                                                                                                                                                       By:
                                                                                                        12                                                   Nicole E. Gage
                                                                                                                                                             Attorneys for Defendant,
TUCKER ELLIS LLP




                                                                                                        13                                                   ROCKWELL AUTOMATION, INC.
                                                                                                        14
                                                                                                        15
                                                                                                        16
                                                                                                        17
                                                                                                        18
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                        28
                                                                                                                                                      12
                                                                                                                                        JOINDER TO NOTICE OF REMOVAL
                                                                                                          Case 2:18-cv-01575-FMO-E Document 41 Filed 03/01/18 Page 13 of 13 Page ID #:3685


                                                                                                         1                                          CERTIFICATE OF SERVICE
                                                                                                                      I, Debbie Estebanez, certify and declare as follows: I am over the age of 18 years and not a party
                                                                                                         2   to this action. I am employed by the law firm Tucker Ellis LLP, and my business address is One Market
                                                                                                             Plaza, Steuart Tower, Suite 700, San Francisco, California 94105, which is located in the city, county
                                                                                                         3
                                                                                                             and state where the service described below took place.                         My email address is
                                                                                                         4   debbie.estebanez@tuckerellis.com.
                                                                                                                      On March 1, 2018, I served on all interested parties in this action a copy of the following
                                                                                                         5   document(s):
                                                                                                         6 DEFENDANT ROCKWELL AUTOMATION, INC.’S JOINDER TO
                                                                                                           DEFENDANT ELLIOTT COMPANY’S NOTICE OF REMOVAL OF ACTION
                                                                                                         7 UNDER 28 U.S.C. § 1442(A)(1) (GOVERNMENT CONTRACTOR IMMUNITY-
                                                                                                           ACTING UNDER DIRECTION OF FEDERAL OFFICERS)
                                                                                                         8
                                                                                                             [X]     by electronically serving the documents described above via United States District Court
                                                                                                         9 Electronic Case Filing website (CM/ECF notification system) on the recipients designated on the
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10 electronic service list that is located on the PACER website.
                                                                                                           [ X ] FEDERAL: I declare that I am employed in the office of a member of the bar of this Court at
                                                                                                        11 whose direction the service was made. I declare under penalty of perjury under the laws of the United
                                                                                                           States of America that the foregoing is true and correct.
                                                                                                        12
                                                                                                                     Executed on March 1, 2018, at San Francisco, California.
TUCKER ELLIS LLP




                                                                                                        13
                                                                                                        14
                                                                                                        15
                                                                                                                                                          Debbie Estebanez
                                                                                                        16
                                                                                                        17
                                                                                                        18
                                                                                                        19
                                                                                                        20
                                                                                                        21
                                                                                                        22
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                        28

                                                                                                                                                     CERTIFICATE OF SERVICE
                                                                                                             1338735.1
